      Case: 1:18-op-45289-DAP Doc #: 28 Filed: 03/13/19 1 of 10. PageID #: 211




                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION OPIATE MDL No. 2804
    LITIGATION
                                            Case No. 1:17-md-2804
    This document relates to:
    Columbiana County Board of County       Judge Dan Aaron Polster
    Commissioners v. Amerisourcebergen Drug
                                            SHORT FORM FOR SUPPLEMENTING
    Corporation et al
                                            COMPLAINT AND AMENDING
                                            DEFENDANTS AND JURY DEMAND
    1:18-op-45289-DAP



        Plaintiff submits this supplemental pleading and Amended Complaint incorporating as if

fully set forth herein its own prior pleadings and, if indicated below, the common factual

allegations identified and the RICO causes of action included in the Corrected Second Amended

Complaint and Jury Demand in the case of The County of Summit, Ohio, et al., v. Purdue Pharma

L.P., et al., Case No. 1:18-op-45090 (“Summit County Pleadings”), In Re National Prescription

Opiate Litigation, in the United States District Court for the Northern District of Ohio, Dkt #513,

5141), and as may be amended in the future, and any additional claims asserted herein. Plaintiff

also hereby amends its complaint to alter the defendants against which claims are asserted as

identified below. To the extent defendants were previously sued in plaintiff(s)’ existing complaint

and they are no longer identified as defendants herein, they have been dismissed without prejudice

except as limited by CMO-1, Section 6(e). Doc. #232.




1
  Docket #513 is the redacted Summit Second Amended Complaint and Docket #514 is the
unredacted Summit Corrected Second Amended Complaint filed under seal in Case No. 1:17-
md-02804-DAP. The redacted Summit Corrected Second Amended Complaint is also filed in its
individual docket, Case No. 1:18-op-45090-DAP, Docket #24.
     Case: 1:18-op-45289-DAP Doc #: 28 Filed: 03/13/19 2 of 10. PageID #: 212




           INCORPORATION BY REFERENCE OF EXISTING COMPLAINT

       Plaintiff(s)’ Existing Complaint, Columbiana County Board of County Commissioners v.

Amerisourcebergen Drug Corporation et al (1:18-op-45289-DAP), as may have been previously

amended, is expressly incorporated by reference to this Short Form as if fully set forth herein

except to the extent that allegations regarding certain defendants that are not listed in section 1

below are dismissed without prejudice.

                                   PARTIES – DEFENDANTS

       1.     Having reviewed the relevant ARCOS data, Plaintiff asserts claims against the
following Defendants:
AMERISOURCEBERGEN DRUG CORPORATION, CARDINAL HEALTH, INC.,
McKESSON CORPORATION, PURDUE PHARMA L.P., PURDUE PHARMA INC., PURDUE
FREDERICK COMPANY, INC., TEVA PHARMACEUTICAL INDUSTRIES LTD., TEVA
PHARMACEUTICALS USA, INC., CEPHALON, INC., JOHNSON & JOHNSON, JANSSEN
PHARMACEUTICALS INC., ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS INC.,
JANSSEN PHARMACEUTICA INC., NORAMCO, INC., ENDO HEALTH SOLUTIONS INC.,
ENDO PHARMACEUTICALS INC., ALLERGAN PLC, WATSON PHARMACEUTICALS,
INC., WATSON LABORATORIES INC., ACTAVIS LLC, ACTAVIS PHARMA, INC.,
MALLINCKRODT PLC, MALLINCKRODT LLC, HBC SERVICE COMPANY, ANDA, INC.,
SPECGX, LLC, PAR PHARMACEUTICAL, INC., PAR PHARMACEUTICAL COMPANIES,
INC., AMNEAL PHARMACEUTICALS, LLC, RITE AID CORPORATION, WALGREENS
BOOTS ALLIANCE, INC., WALMART INC., F/K/A WAL-MART STORES, INC..

I, Anthony J. Majestro, Counsel for Plaintiff(s), certify that in identifying all Defendants, I
have followed the procedure approved by the Court and reviewed the ARCOS data that I
understand to be relevant to Plaintiff(s). I further certify that, except as set forth below, each
of the Defendant(s) newly added herein appears in the ARCOS data I reviewed.
I understand that for each newly added Defendant not appearing in the ARCOS data I
must set forth below factual allegations sufficient to state a claim against any such newly
named Defendant that does not appear in the ARCOS data.

Dated: March 13, 2019                          Signed: /s/ Anthony J. Majestro

Factual Allegations Regarding Individual Defendants

       1.1.    Defendants HBC SERVICE COMPANY, ANDA, INC., SPECGX, LLC, PAR

PHARMACEUTICAL, INC., PAR PHARMACEUTICAL COMPANIES, INC., AMNEAL

PHARMACEUTICALS, LLC, RITE AID CORPORATION, WALGREENS BOOTS


                                                  2
     Case: 1:18-op-45289-DAP Doc #: 28 Filed: 03/13/19 3 of 10. PageID #: 213




ALLIANCE, INC., WALMART INC., F/K/A WAL-MART STORES, INC. are hereby added as

Defendants by this pleading based on the following jurisdictional allegations:

       1.1.1   Defendant HBC Service Company (“HBC”) is an operating division of Giant

Eagle, Inc. HBC operated as a licensed distributor wholesaler in Ohio, licensed by the State of

Ohio Board of Pharmacy. Giant Eagle is a Pennsylvania corporation with its principal place of

business in Washington, Pennsylvania. HBC Service Company is registered to conduct business

and/or conducts business in Plaintiff’s community as a licensed wholesale pharmaceutical

distributor. HBC Service Company distributed opioids, in violation of the duties owed to

Plaintiff as set forth in Plaintiff’s original complaint and the other allegations incorporated

herein, in sufficient quantities to be a proximate cause of Plaintiff’s injuries. HBC Service

Company is sued as a Distributor Defendant.

       1.1.2   Defendant Anda, Inc., (“Anda”) through its various DEA registrant subsidiaries

and affiliated entities, including but not limited to, Anda Pharmaceuticals, Inc., is the fourth

largest distributor of generic pharmaceuticals in the United States. Anda, Inc. is a Florida

corporation with its principal office located in Weston, Florida. In October 2016, Defendant

Teva acquired Anda from Allergan plc (i.e., Defendant Actavis), for $500 million in cash. Anda

is registered to conduct business and/or conducts business in Plaintiff’s community as a licensed

wholesale pharmaceutical distributor. Anda distributed opioids, in violation of the duties owed to

Plaintiff as set forth in Plaintiff’s original complaint and the other allegations incorporated

herein, in sufficient quantities to be a proximate cause of Plaintiff’s injuries. Anda is sued as a

Distributor Defendant.

       1.1.3   Defendant SpecGx, LLC is a Delaware limited liability company with its

headquarters in Clayton, Missouri and is a wholly owned subsidiary of Defendant Mallinckrodt




                                                  3
     Case: 1:18-op-45289-DAP Doc #: 28 Filed: 03/13/19 4 of 10. PageID #: 214




plc. SpecGx, LLC is registered to conduct business and/or conducts business in Plaintiff’s

community as a licensed wholesale pharmaceutical distributor. SpecGx, LLC distributed opioids,

in violation of the duties owed to Plaintiff as set forth in Plaintiff’s original complaint and the

other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiff’s injuries. SpecGx, LLC is sued as a Marketing Defendant.

       1.1.4   Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal

place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly-

owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings, Inc.

Defendant Par Pharmaceutical Companies, Inc. is a Delaware corporation with its principal

place of business located in Chestnut Ridge, New York. (Par Pharmaceutical, Inc., and Par

Pharmaceutical Companies, Inc., collectively “Par Pharmaceutical”) was acquired by Endo

International plc in September 2015 and is an operating company of Endo International plc. Par

Pharmaceutical is registered to conduct business and/or conducts business in Plaintiff’s

community as a licensed wholesale pharmaceutical distributor. Par Pharmaceutical distributed

opioids, in violation of the duties owed to Plaintiff as set forth in Plaintiff’s original complaint

and the other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiff’s injuries. Par Pharmaceutical is sued as a Marketing Defendant.

       1.1.5   Defendant Amneal Pharmaceuticals, LLC (“Amneal”) is a Delaware limited

liability company with its principal place of business in Branchburg, New Jersey. Amneal

manufactures, promotes, distributes and/or sells opioids nationally, including many Schedule II

controlled substances such as Oxycodone and Hydrocodone. Amneal is registered to conduct

business and/or conducts business in Plaintiff’s community as a licensed wholesale

pharmaceutical distributor. Amneal distributed opioids, in violation of the duties owed to




                                                   4
     Case: 1:18-op-45289-DAP Doc #: 28 Filed: 03/13/19 5 of 10. PageID #: 215




Plaintiff as set forth in Plaintiff’s original complaint and the other allegations incorporated

herein, in sufficient quantities to be a proximate cause of Plaintiff’s injuries. Amneal is sued as a

Marketing Defendant.

       1.1.6   Defendant Rite Aid Corporation (“Rite Aid”) is a Delaware corporation with its

principal office located in Camp Hill, Pennsylvania. Rite Aid Corporation, through its various

DEA registered subsidiaries and affiliated entities, conducts business as a licensed wholesale

distributor. Defendant Rite Aid is registered to conduct business and/or conducts business in

Plaintiff’s community as a licensed wholesale pharmaceutical distributor under the following

named business entities: Rite Aid of Maryland, Inc., d/b/a Rite Aid Mid-Atlantic Customer

Support Center, Inc., Rite Aid of Massachusetts, Rite Aid of Michigan, and Rite Aid of West

Virginia, Inc. Rite Aid distributed opioids, in violation of the duties owed to Plaintiff as set forth

in Plaintiff’s original complaint and the other allegations incorporated herein, in sufficient

quantities to be a proximate cause of Plaintiff’s injuries. Rite Aid is sued as both a Distributor

Defendant and as a National Retail Pharmacy Defendant.

       1.1.7   Defendant Walgreens Boots Alliance, Inc., is a Delaware corporation with its

principal place of business in Illinois. Walgreens Boots Alliance Inc. is registered to conduct

business and/or conducts business in Plaintiffs’ community as a licensed wholesale distributor

under the following named business entities: Walgreen Co.; Walgreen Eastern Co., Inc.;

Walgreen Arizona Drug Co. (collectively “Walgreens”). Walgreens distributed opioids, in

violation of the duties owed to Plaintiff as set forth in Plaintiff’s original complaint and the other

allegations incorporated herein, in sufficient quantities to be a proximate cause of Plaintiff’s

injuries. Walgreens is sued as both a Distributor Defendant and as a National Retail Pharmacy

Defendant.




                                                  5
     Case: 1:18-op-45289-DAP Doc #: 28 Filed: 03/13/19 6 of 10. PageID #: 216




       1.1.8   Defendant Walmart Inc., (“Walmart”) formerly known as Wal-Mart Stores, Inc.,

is a Delaware corporation with its principal place of business in Bentonville, Arkansas. Walmart

is registered to conduct business and/or conducts business in Plaintiffs’ community as a licensed

wholesale distributor under the following named business entities: Wal-Mart Warehouse #28;

Wal-Mart Warehouse #6045 aka Wal-Mart Warehouse #45; Wal-Mart Warehouse # 6046 aka

Wal-Mart Warehouse #46 and Wal-Mart Stores East, LP. Walmart distributed opioids, in

violation of the duties owed to Plaintiff as set forth in Plaintiff’s original complaint and the other

allegations incorporated herein, in sufficient quantities to be a proximate cause of Plaintiff’s

injuries. Walmart is sued as both a Distributor Defendant and as a National Retail Pharmacy

Defendant.

                            COMMON FACTUAL ALLEGATIONS

        2.      By checking the boxes in this section, Plaintiff hereby incorporates by reference to
this document the common factual allegations set forth in the Summit County Pleadings as
identified in the Court’s Order implementing the Short Form procedure. Dkt. #1282.
   ☒ Common Factual Allegations (Paragraphs 130 through 670 and 746 through 813)
   ☒ RICO Marketing Enterprise Common Factual Allegations (Paragraphs 814-848)
   ☒ RICO Supply Chain Enterprise Common Factual Allegations (Paragraphs 849-877)

        3.      If additional claims are alleged below that were not pled in Plaintiff’s Existing
Complaint (other than the RICO claims asserted herein), the facts supporting those allegations
must be pleaded here. Plaintiff(s) assert(s) the following additional facts to support the claim(s)
identified in Paragraph 6 below (below or attached):
N/A

                                              CLAIMS

        4.      The following federal RICO causes of action asserted in the Summit County
Pleadings as identified in the Court’s implementing order and any subsequent amendments, Dkt.
1282, are incorporated in this Short Form by reference, in addition to the causes of action already
asserted in the Plaintiff(s)’s Existing Complaint (check all that apply):




                                                  6
      Case: 1:18-op-45289-DAP Doc #: 28 Filed: 03/13/19 7 of 10. PageID #: 217




   ☒ First Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing
   Enterprise (Against Defendants Purdue, Cephalon, Janssen, Endo and Mallinckrodt (the
   “RICO Marketing Defendants”)) (Summit County Pleadings, Paragraphs 878-905)

   ☒ Second Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply
   Chain Enterprise (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
   McKesson, Cardinal, and AmerisourceBergen (the “RICO Supply Chain Defendants”))
   (Summit County Pleadings, Paragraphs 906-938)

       5.      Plaintiff asserts the following additional claims as indicated (below or attached):
N/A
       6.      To the extent Plaintiff(s) wish(es) to dismiss claims previously asserted in

Plaintiff(s)’s Existing Complaint, they are identified below and will be dismissed without

prejudice: N/A

       WHEREFORE, Plaintiff(s) prays for relief as set forth in the Summit County Pleadings in

In Re National Prescription Opiate Litigation in the United States District Court for the Northern

District of Ohio, MDL No. 2804 and in Plaintiff’s Existing Complaint as has been amended herein.

Dated: March 13, 2019                                /s/Anthony J. Majestro
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                                                7
Case: 1:18-op-45289-DAP Doc #: 28 Filed: 03/13/19 8 of 10. PageID #: 218




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                                   8
Case: 1:18-op-45289-DAP Doc #: 28 Filed: 03/13/19 9 of 10. PageID #: 219




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                                   9
    Case: 1:18-op-45289-DAP Doc #: 28 Filed: 03/13/19 10 of 10. PageID #: 220




                              CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 13th day of March, 2019, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF System. Copies will be served upon counsel of
record by, and may be obtained through, the Court CM/ECF Systems.

                                                  /s/Anthony J. Majestro
                                                  Anthony J. Majestro
                                                  Attorney for Plaintiff(s)




                                             10
